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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                      CASE NO. 1:22-cv-22307-BB

  MARIA FERNANDA SOTO LEIGUE,
  individually and on behalf of all
  others similarly situated,                                    CLASS ACTION

          Plaintiff,                                            JURY TRIAL DEMANDED

  v.


  EVERGLADES COLLEGE, INC. d/b/a
  KEISER UNIVERSITY,

        Defendant.
  ____________________________________/

                         FIRST AMENDED CLASS ACTION COMPLAINT

          Plaintiff Maria Fernanda Soto Leigue brings this class action against Defendant Everglades

  College, Inc. d/b/a Keiser University, and alleges as follows upon personal knowledge as to Plaintiff

  and Plaintiff’s own acts and experiences, and, as to all other matters, upon information and belief,

  including investigation conducted by Plaintiff’s attorneys.

                                      NATURE OF THE ACTION

          1.      This is a putative class action pursuant to the Florida Telephone Solicitation Act

  (“FTSA”), Fla. Stat. § 501.059.

          2.      Defendant is a private university that provides educational services.

          3.      Defendant charges consumers a tuition for its educational services.

          4.      To promote its services, Defendant engages in unsolicited text messaging.




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         5.      Defendant’s telephonic sales calls have caused Plaintiff and the Class members

  harm, including violations of their statutory rights, statutory damages, annoyance, nuisance, and

  invasion of their privacy.

         6.      Through this action, Plaintiff seeks an injunction and statutory damages on behalf

  of herself and the Class members, as defined below, and any other available legal or equitable

  remedies resulting from the unlawful actions of Defendant.

                                              PARTIES

         7.      Plaintiff is, and at all times relevant hereto was, an individual and a “called party”

  as defined by Fla. Stat. § 501.059(1)(a) in that she was the regular user of telephone number ***-

  ***-1578 (the “1578 Number”) that received Defendant’s telephonic sales text messages. Plaintiff

  is a resident of Miami-Dade County, Florida.

         8.      Defendant is, and at all times relevant hereto was, a Florida corporation and a

  “telephone solicitor” as defined by Fla. Stat. § 501.059(f). Defendant maintains its primary place

  of business and headquarters in Fort Lauderdale, Florida. Defendant directs, markets, and provides

  business activities throughout the State of Florida and the United States.

                                   JURISDICTION AND VENUE

         9.      This action is within the original jurisdiction of this Court pursuant to the Class

  Action Fairness Act of 2005 (“CAFA”), 28 U.S.C. § 1332(d), which grants district courts original

  jurisdiction over class actions in which the amount in controversy exceeds $5,000,000 and any

  member of the class of plaintiffs is a citizen of a State different from any defendant. As set forth

  by Defendant in its Notice of Removal, this action satisfies each of the requirements of §

  1332(d)(2) for original jurisdiction under CAFA the required diversity of citizenship under CAFA




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  is satisfied because “any member of a class of plaintiffs is a citizen of a State different from any

  defendant.” 28 U.S.C. § 1332(d)(2)(A). See Notice of Removal, DE 1.

          10.    Defendant is subject to general personal jurisdiction in Florida because it is is

  incorporated in Florida, and its principal place of business is in Florida.

          11.    Venue is proper in this District pursuant to 28 U.S.C. §§ 1391(b) and (c) because

  Defendant is deemed to reside in any judicial district in which it is subject to personal jurisdiction,

  and because a substantial part of the events or omissions giving rise to the claim occurred in this

  District.

                                                 FACTS

                            Defendant’s Background and Business Model

          12.    Defendant is a purported nonprofit university with over 20,000 students, 66,000

  alumni, and 3,800 employees across dozens of campuses.

          13.    Compared to its public non-profit counterparts, it is significantly more expensive

  to obtain a degree at Defendant’s institution. A degree in Business Administration costs

  approximately $60,000 at Defendant’s university, while a Bachelor’s degree in Business

  Administration at the University of Florida costs approximately $29,000.

          14.    Despite claiming to be a nonprofit organization, a recent letter to General Counsel

  of the U.S. Department of Education by three members of Congress tells a different story:

                 [Dr. Keiser’s] 2011 Keiser University-Everglades College conversion
                 was (and continues to be) a prime example of a so-called “covert for-
                 profit.” The nonprofit Everglades College—which Keiser led—agreed
                 to pay $521 million to acquire Keiser’s own for-profit Keiser
                 University. In the first year following the conversion, Dr. Keiser and his
                 family members received payments totaling $34 million from the
                 “nonprofit” college. A Government Accountability Office (GAO)
                 report from April 2021, requested by Senator Durbin, highlighted this
                 conversion among other problematic examples requiring additional
                 scrutiny and protections.


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  See correspondence dated February 18, 2022, attached as Exhibit A.

         15.     Separately, a United States Senate study found that on average, approximately 60%

  of Defendant’s students withdraw after a period of seven months at Defendant’s institution. See

  www.help.senate.gov/imo/media/for_profit_report/PartII/Keiser.pdf.

         16.     That same study concluded:

                 Given the high cost of tuition at Keiser and that the majority of students
                 leave the company’s schools with no degree or diploma, the company’s
                 high rate of student loan default is particularly troubling. It is unclear
                 whether taxpayers or students are obtaining value from their
                 investments in the company. Moreover, Keiser’s decision to convert to
                 non-profit status should be more closely scrutinized.

  Id.

         17.     As noted by the Senate study, almost of all Defendant’s students pay for their tuition

  through some form of federal and private student loans. Accordingly, Defendant derives almost

  all of its revenue from federal and private lenders.

         18.     Due to its high turnover – which ranks in the top ten for the private university sector

  – Defendant is forced to implement aggressive marketing strategies to recruit new students so it

  can ultimately generate revenue (which is then utilized to pay back the loan issued by Dr. Keiser

  and his family members).

         19.     Defendant’s annual advertising budget alone is over $50 million.

         20.     Defendant advertises its services by utilizing Gragg Advertising, “a full service

  direct response agency that creates, implements, and manages integrated campaigns for both

  digital and traditional mediums.” See graggadv.com/about-us/.

         21.     Defendant also utilizes a high-pressure call-center with daily calling quotas that has

  no shortage of on-line complaints by former employees, including the following:



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                  Call center environment, sales driven, weekends and late nights

                  Admissions is run like a high pressure call center. You must call at
                   least 80-100 people a day. It doesn't matter if the people in the past
                   have said they're not interested because they might change their
                   mind. What you learn at training is not what is practiced. The official
                   phrase is 'policy vs practice.' The deans don't like to deal with
                   students. Students are constantly dropping out and admissions make
                   bets on how long they will last when they enroll them. Their phrase
                   is students first, but it's really about the numbers and how many you
                   can enroll. There is a lot of competition between the different
                   campuses. It is a big deal when another campus 'steals students' and
                   there is no teamwork.

                  Management would rather use scare tactics and emotional abuse
                   than lead with anything silly like encouragement or motivation.
                   Work like a slave, never question anyone's decision, and be
                   micromanaged like you're an idiot (took a 16 min break instead of a
                   15 min break? You're getting a write up). Please don't mistake this
                   for bitterness. This is truth. I work her because I have people to
                   support and just haven't found a better job yet. There's this lovely
                   culture of back-stabbing in this high-pressure, call center-like job.

                  Didn't take long to see the 'Keiser Way' is about numbers-
                   Enrollments/Starts. I get that, but the stress of the goals is a bit much.
                   The premise is good, but overpriced. They would get more students
                   into their other programs (besides nursing, radiology) and fill them,
                   if they brought the tuition down. The lack of PTO the 1st year (1wk)
                   They make your schedule & don't like to change it It really is a 'call
                   center' in Admissions & they don't like you to spend to much time
                   with a student if they aren't going to make an appt. w/in the next 3
                   days

                  Call center, Broken process, phone harassment, expensive, bullpen
                   mentality, schedule, unrealistic goals, SALES!! No commission,
                   work life balance (no day off in summer)

  www.glassdoor.com/Reviews/Keiser-University-call-center-Reviews

  EI_IE346101.0,17_KH18,29.htm

         22.       Internally and in communications with this advertising agency, Defendant refers to

  prospective students as how it sees them: “leads”.




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                    Defendant Harasses Consumers with Telephonic Sales Calls

         23.     On or about January 2, 2020, submitted a simple inquiry for information to

  Defendant through a form on its website.

         24.     When she submitted her information, Plaintiff did not consent to receive automated

  text message solicitations on her cellular phone, and Defendant failed to secure Plaintiff’s express

  written consent for any such telemarketing.

         25.     Consistent with aggressive telemarketing practices discussed above, employees

  from Defendant’s call center called Plaintiff eleven (11) times between January 2, 2020 and

  January 13, 2020, and sent solicitation emails to Plaintiff on January 2, 2020, January 4, 2020, July

  10, 2020, August 14, 2020, August 20, 2020, August 25, 2020, September 1, 2020, September 8,

  2020, September 14, 2020, September 21, 2020, October 15, 2020, November 27, 2020, December

  14, 2020, December 28, 2020, December 31, 2020, March 25, 2021, March 29, 2021, April 10,

  2021, and August 6, 2021.

         26.     In addition to the calls, Defendant sent or attempted to send text message

  solicitations to Plaintiff’s cellular telephone on February 11, 2020, July 10, 2020, July 14, 2020,

  August 1, 2020, October 15, 2020, October 30, 2020, November 16, 2020, November 27, 2020,

  December 28, 2020 (twice), March 25, 2021, April 10, 2021, August 6, 2021 (twice), August 10,

  2021, August 14, 2021, August 17, 2021, and September 23, 2021.

         27.     The following screenshots depict just some of the messages Plaintiff received:




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         28.    Notably, Defendant’s messages did not include instructions on how to opt-out of

  future messages.

         29.    On September 23, 2021, Plaintiff responded with the words “Please remove me

  from your contact list,” in an attempt to opt-out of any further text message communications with

  Defendant:




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         30.     Despite Plaintiff’s use of clear opt-out language, Defendant ignored Plaintiff’s opt-

  out demand and continued to send or attempt to send Plaintiff promotional text messages, including

  on October 6, 2021, October 12, 2021, December 6, 2021, and December 17, 2021.

         31.     As demonstrated by the above screenshots, the purpose of Defendant’s telephonic

  sales messages was to solicit the sale of consumer services.

         32.     Defendant’s text messages constitute telephonic sales calls because they

  encouraged the future sale of consumers services, i.e., selling Plaintiff educational services in the

  form of university courses for which Plaintiff would have paid out-of-pocket and/or through

  student loans. Moreover, Plaintiff would have purchased such services for personal purposes only.

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          33.     Defendant’s text messages also constitute telephonic sales calls because the

  purpose was to obtain information that would be used by Defendant to directly solicit the sale of

  consumer educational services that Plaintiff would have purchased out-of-pocket and/or through

  student loans, and for personal purposes only.

          34.     Defendant’s texts were not made for an emergency purpose or to collect a debt.

          35.     Plaintiff is the regular user of the telephone number that received the above

  telephonic sales calls.

          36.     Upon information and belief, Defendant maintains and/or has access to outbound

  transmission reports for all text messages sent advertising/promoting its services and goods. These

  reports show the dates, times, target telephone numbers, and content of each message sent to

  Plaintiff and the Class members.

          37.     As Defendant has conceded, it sent over 10,000 text message solicitations like the

  ones it sent to Plaintiff.

          38.     The impersonal and generic nature of Defendant’s text messages, coupled with their

  frequency, demonstrates that Defendant utilized a computer software system that automatically

  selected and dialed Plaintiff’s and the Class members’ telephone numbers.

          39.     To send the text message, Defendant used a messaging platform (the “Platform”),

  which permitted Defendant to transmit thousands of text messages automatically and without any

  human involvement.

          40.     Defendant was not required to and did not need to utilize the Platform to send

  messages to Plaintiff and the Class members. Instead, Defendant opted to use the Platform to

  maximize the reach of its text message advertisements at a nominal cost to Defendant.




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         41.     The Platform has the capacity to select and dial numbers automatically from a list

  of numbers.

         42.     The Platform has the capacity to schedule the time and date for future transmission

  of text messages.

         43.     The Platform also has an auto-reply function that results in the automatic

  transmission of text messages.

         44.     Defendant was not required to and did not need to utilize the Platform to send

  messages to Plaintiff and the Class members. Instead, Defendant opted to use the Platform to

  maximize the reach of its text message advertisements at a nominal cost to Defendant.

         45.     Defendant would be able to conduct its business operations without sending

  automated text messages to consumers.

         46.     Defendant would be able to send automated text messages to consumers, and in

  compliance with the FTSA, by securing the proper consent from consumers prior to sending text

  messages.

         47.     Defendant would be able to send text messages to consumers without consent by

  utilizing a non-automated text messaging system.

         48.     Accordingly, it is not impossible for Defendant to comply with the FTSA in the

  context of transmitting text messages.

         49.     The burden and cost to Defendant of securing consent from consumers that

  complies with the FTSA is nominal.

         50.     Compliance with the FTSA will not result in Defendant having to cease its business

  operations.




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         51.     Compliance with the FTSA will not result in Defendant having the alter the prices

  of any goods or services it provides in the marketplace.

         52.     Compliance with the FTSA will not force Defendant to seek regulatory approval

  from the State of Florida before undertaking any type of commercial transaction.

         53.     Because a substantial part of Defendant’s FTSA violations occurred in Florida,

  requiring Defendant’s compliance with the FTSA will not have the practical effect of regulating

  commerce occurring wholly outside of Florida.

         54.     Plaintiff never provided Defendant with express written consent authorizing

  Defendant to transmit telephonic sales calls to Plaintiff’s cellular telephone number utilizing an

  automated system for the selection or dialing of telephone numbers.

         55.     More specifically, Plaintiff never signed any type of authorization permitting or

  allowing the placement of a telephonic sales call by text message using an automated system for

  the selection or dialing of telephone numbers.

         56.     The form utilized by Defendant to acquire Plaintiff’s and the Class members

  telephone numbers is depicted below:




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         57.      As demonstrated by the above, Defendant’s form fails to comply with the FTSA’s

  “express written consent” requirements in the following ways:

               (a) The disclosure language is not clear and conspicuous, but is instead concealed in

                  small font below a large yellow “REQUEST INFO” call to action button;

               (b) The disclosure language fails to state that the consumer is agreeing to receive

                  telephonic sales calls; and

               (c) The disclosure language fails to advise consumers that they are not required to

                  directly or indirectly sign the written agreement or to agree to enter into such an

                  agreement as a condition of purchasing any property, goods, or services.

         58.      Since Plaintiff’s prior lawsuit, Defendant has conceded that its prior form was

  deficient by attempting to remedy some of the deficiencies in the disclosure language:




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          59.     As reflected by the above, Defendant’s new disclosure language makes reference

  to “marketing” and that consumers are “not required to provide my phone number as a condition

  of purchasing any property, goods, or service.” In other words, Defendant itself concedes that its

  call-center’s solicitations are to market its services.

          60.     Defendant’s telephonic sales calls caused Plaintiff and the Class members harm,

  including statutory damages, inconvenience, invasion of privacy, aggravation, annoyance, and

  violation of their statutory privacy rights.

                                        CLASS ALLEGATIONS

          PROPOSED CLASSES

          61.     Plaintiff brings this lawsuit as a class action on behalf of herself individually and

  on behalf of all other similarly situated persons as a class action pursuant to Federal Rule of Civil

  Procedure 23. The Classes that Plaintiff seeks to represent are defined as:



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                  FTSA Class: All persons within the United States who, (1) were sent
                  more than one telephonic sales call regarding Defendant’s
                  property, goods, and/or services, (2) using the same equipment or
                  type of equipment utilized to call Plaintiff.

                  Internal Do Not Call Class: All persons within the United States
                  who, within the four years prior to the filing of this Complaint, were
                  sent more than one text message from Defendant or anyone on
                  Defendant’s behalf, to said person’s cellular telephone number
                  after making a request to Defendant to not receive future text
                  messages.

         62.      Defendant and its employees or agents are excluded from the Classes.

         NUMEROSITY

         63.      Defendant has placed telephonic sales calls to telephone numbers belonging to at

  least 10,001 consumers. The members of the Classes, therefore, are believed to be so numerous

  that joinder of all members is impracticable.

         64.      Identification of the Class members is a matter capable of ministerial determination

  from Defendant’s call records.

         COMMON QUESTIONS OF LAW AND FACT

         65.      There are numerous questions of law and fact common to the Classes which

  predominate over any questions affecting only individual members of the Classes. Among the

  questions of law and fact common to the Classes are:

               (a) Whether Defendant initiated telephonic sales calls to Plaintiff and the Class

                  members;

               (b) Whether Defendant can meet its burden of showing that it had prior express written

                  consent to make such calls;

               (c) Whether Defendant sent solicitations to individuals who had requested not to

                  receive calls; and



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               (d) Whether Defendant is liable for damages, and the amount of such damages.

         66.      The common questions in this case are capable of having common answers, and

  Plaintiff and the Class members will have identical claims capable of being efficiently adjudicated

  and administered in this case.

         TYPICALITY

         67.      Plaintiff’s claims are typical of the claims of the Class members, as they are all

  based on the same factual and legal theories.

         PROTECTING THE INTERESTS OF THE CLASS MEMBERS

         68.      Plaintiff is a representative who will fully and adequately assert and protect the

  interests of the Classes and has retained competent counsel. Accordingly, Plaintiff is an adequate

  representative and will fairly and adequately protect the interests of the Class.

         SUPERIORITY

         69.      A class action is superior to all other available methods for the fair and efficient

  adjudication of this lawsuit because individual litigation of the claims of all members of the Classes

  is economically unfeasible and procedurally impracticable. While the aggregate damages sustained

  by the Classes are in the millions of dollars, the individual damages incurred by each member of

  the Classes resulting from Defendant’s wrongful conduct are too small to warrant the expense of

  individual lawsuits. The likelihood of individual Class members prosecuting their own separate

  claims is remote, and, even if every member of the Classes could afford individual litigation, the

  court system would be unduly burdened by individual litigation of such cases.

         70.      The prosecution of separate actions by members of the Classes would create a risk

  of establishing inconsistent rulings and/or incompatible standards of conduct for Defendant. For

  example, one court might enjoin Defendant from performing the challenged acts, whereas another



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  may not. Additionally, individual actions may be dispositive of the interests of the Classes,

  although certain class members are not parties to such actions.

                                               COUNT I
                                    Violation of Fla. Stat. § 501.059
                               (On Behalf of Plaintiff and the FTSA Class)

          71.     Plaintiff re-alleges and incorporates the allegations set forth in paragraphs 1 through

  70 as if fully set forth herein.

          72.     It is a violation of the FTSA to “make or knowingly allow a telephonic sales call to

  be made if such call involves an automated system for the selection or dialing of telephone numbers

  or the playing of a recorded message when a connection is completed to a number called without

  the prior express written consent of the called party.” Fla. Stat. § 501.059(8)(a).

          73.     A “telephonic sales call” is defined as a “telephone call, text message, or voicemail

  transmission to a consumer for the purpose of soliciting a sale of any consumer goods or services,

  soliciting an extension of credit for consumer goods or services, or obtaining information that will

  or may be used for the direct solicitation of a sale of consumer goods or services or an extension

  of credit for such purposes.” Fla. Stat. § 501.059(1)(i).

          74.     “Prior express written consent” means an agreement in writing that:

                  1. Bears the signature of the called party;

                  2. Clearly authorizes the person making or allowing the placement of a telephonic
                     sales call by telephone call, text message, or voicemail transmission to deliver
                     or cause to be delivered to the called party a telephonic sales call using an
                     automated system for the selection or dialing of telephone numbers, the playing
                     of a recorded message when a connection is completed to a number called, or
                     the transmission of a prerecorded voicemail;

                  3. Includes the telephone number to which the signatory authorizes a telephonic
                     sales call to be delivered; and

                  4. Includes a clear and conspicuous disclosure informing the called party that:



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                          a. By executing the agreement, the called party authorizes the person
                             making or allowing the placement of a telephonic sales call to deliver or
                             cause to be delivered a telephonic sales call to the called party using an
                             automated system for the selection or dialing of telephone numbers or
                             the playing of a recorded message when a connection is completed to a
                             number called; and

                          b. He or she is not required to directly or indirectly sign the written
                             agreement or to agree to enter into such an agreement as a condition of
                             purchasing any property, goods, or services.

  Fla. Stat. § 501.059(1)(g).

          75.     Defendant failed to secure prior express written consent from Plaintiff and the

  FTSA Class members.

          76.     In violation of the FTSA, Defendant made and/or knowingly allowed telephonic

  sales calls to be made to Plaintiff and the FTSA Class members without Plaintiff’s and the FTSA

  Class members’ prior express written consent.

          77.     Defendant made and/or knowingly allowed the telephonic sales calls to Plaintiff

  and the FTSA Class members to be made utilizing an automated system for the selection or dialing

  of telephone numbers.

          78.     As a result of Defendant’s conduct, and pursuant to § 501.059(10)(a) of the FTSA,

  Plaintiff and FTSA Class members were harmed and are each entitled to a minimum of $500.00

  in damages for each violation.

          79.     Plaintiff requests for this Court to enter an Order granting the relief outlined in the

  Prayer for Relief below.




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                                                COUNT II
                                    Violation of Fla. Stat. § 501.059
                       (On Behalf of Plaintiff and the Internal Do Not Call Class)

          80.      Plaintiff re-alleges and incorporates the allegations set forth in paragraphs 1 through

  70 as if fully set forth herein.

          81.      It is a violation of the FTSA to initiate an outbound telephone call, text message, or

  voicemail transmission to a consumer, business, or donor or potential donor who has previously

  communicated to the telephone solicitor or other person that he or she does not wish to receive an

  outbound call, text message, or voicemail transmission:

                (a) Made by or on behalf of the seller whose goods or services are being offered; or

                (b) Made on behalf of a charitable organization for which a charitable contribution is

                   being solicited.

  Fla. Stat. § 501.059(5) (a), (b).


          82.      Plaintiff and the Class Members made requests to Defendant not to receive

  messages from Defendant.

          83.      Defendant failed to honor Plaintiff and the Internal Do Not Call Class members’

  requests.

          84.      In violation of the FTSA, Defendant made and/or knowingly allowed outbound text

  messages offering their services to be sent to Plaintiff and the Class members, after they had

  previously communicated to Defendant that he or she did not wish to receive any more calls, text

  messages, or voicemails from Defendant.

          85.      As a result of Defendant’s conduct, and pursuant to § 501.059(10)(a) of the FTSA,

  Plaintiff and Class members were harmed and are each entitled to a minimum of $500.00 in




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  damages for each violation. Plaintiff and the Class members are also entitled to an injunction

  against future calls.

          86.     Plaintiff and the Internal Do Not Call Class members also suffered damages in the

  form of invasion of privacy.



                                                COUNT III
                          Injunctive Relief Pursuant to Fla. Stat. § 501.059(10)(a)
                               (On Behalf of Plaintiff and the FTSA Class)

          87.     Plaintiff re-alleges and incorporates the allegations set forth in paragraphs 1 through

  70 as if fully set forth herein.

          88.     Pursuant to section 501.059(10)(a), Plaintiff seeks injunctive relief prohibiting

  Defendant’s unlawful conduct in the future to protect Plaintiff and the FTSA Class members from

  Defendant’s unsolicited calls and practices.

          89.     Defendant’s ongoing and continuing violations have caused, and in the absence of

  an injunction will continue to cause, harm to Plaintiff and the FTSA Class members.

          90.     Plaintiff and the FTSA Class members suffer irreparable harm if Defendant is

  permitted to continue its practice of violating the FTSA.

          91.     The injuries that the Plaintiff and the FTSA Class members will suffer if Defendant

  is not prohibited from continuing to engage in the unlawful practices described herein far outweigh

  the harm that Defendant will suffer if it is enjoined from continuing this conduct.

          92.     The public interest will be served by an injunction prohibiting Defendant from

  continuing to engage in the unlawful practices described herein.




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            93.       Accordingly, Plaintiff and the FTSA Class members seek an injunction requiring

  Defendant to implement policies and procedures to secure express written consent before engaging

  in any text message solicitations, and to follow such consent requirements.

            94.       Plaintiff requests for this Court to enter an Order granting the relief outlined in the

  Prayer for Relief below.

                                            PRAYER FOR RELIEF

            WHEREFORE, Plaintiff, individually and on behalf of the Classes, prays for the following

  relief:
                  a) An order certifying this case as a class action on behalf of the Classes as defined above,

                      and appointing Plaintiff as the representative of the Classes and Plaintiff’s counsel as

                      Class Counsel;

                  b) An award of statutory damages for Plaintiff and each member of the Classes as

                      applicable under the FTSA;

                  c) An order declaring that Defendant’s actions, as set out above, violate the FTSA;

                  d) An injunction requiring Defendant to cease all telephonic sales calls made without

                      express written consent, and to otherwise protect the interests of the Class; and

                  e) Such further and other relief as the Court deems necessary.

                                                JURY DEMAND

            Plaintiff, individually and on behalf of the Class, hereby demand a trial by jury.




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  DATED: August 15, 2022

                                        Respectfully Submitted,

                                        HIRALDO P.A.

                                        /s/ Manuel S. Hiraldo
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